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               IN THE UNITED STATES DISTRICT COURT
                                                                             FILED
                   FOR THE DISTRICT OF MONTANA                                JUN 0 7 2017
                         HELENA DIVISION                                   Clerk, U.S. District Court
                                                                              District Of Montana
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 UNITED STATES OF AMERICA,                    CR 17-7-H-SEH

                     Plaintiff,

         vs.
                                              ORDER
 CHRISTIAN JESUS RUIZ,

                     Defendant.



      The United States of America, having moved the Court for an order to seal

Exhibit 1 and 2 to its Response to Defendant's Motion for Bill of Particulars and

Other Relief, and for good cause appearing,

      IT IS HEREBY ORDERED that the United States' motion to seal (Doc. 84)

is GRANTED.

                      7-6
      DATED this --'-- day of June, 2017


                                     ~~@n
                                      United States District Court Judge




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